                                    Case 20-11900-EPK              Doc 44             Filed 07/08/20     Page 1 of 5
                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                               CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                            Original Plan
                        n   Second                                Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                  Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: FORNARO, TODD                                  JOINT DEBTOR: FORNARO, JESSICA                           CASE NO.: 20-11900-EPK
SS#: xxx-xx- 2595                                         SS#: xxx-xx-4033
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                       Included       n    Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                       Included       n    Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                n     Included            Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $949.30              for months   1     to 5    ;

                   2.   $849.06              for months   6     to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                 NONE     PRO BONO
        Total Fees:               $7100.00          Total Paid:                $290.00           Balance Due:              $6810.00
        Payable             $212.00          /month (Months 1     to 5 )
        Payable             $261.37          /month (Months 6     to 27 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $4500 + $2600 MMM = $7,100

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Victoria Parc at Tradition Assoc., Inc.
              Address: c/o Avant-Garde                    Arrearage/ Payoff on Petition Date     $4,561.02
                       Management
                                                          Arrears Payment (Cure)                             $20.00       /month (Months   1   to 5   )
                       759 SW Federal Highway,
                       Suite 316, Stuart, FL              Arrears Payment (Cure)                             $81.11       /month (Months   6   to 60 )
                       34994
                                                          Regular Payment (Maintain)                         $178.00      /month (Months   1   to 60 )
         Last 4 Digits of
LF-31 (rev. 10/3/17)                                                        Page 1 of 5
                                      Case 20-11900-EPK           Doc 44          Filed 07/08/20          Page 2 of 5
                                                                     Debtor(s): FORNARO, TODD, FORNARO, JESSIC Case number: 20-11900-EPK
         Account No.:                  0218
        Other:

         n   Real Property                                                     Check one below for Real Property:
                 n Principal    Residence                                             Escrow is included in the regular payments
                       Other Real Property                                            The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         10070 SW Newberry Ave., Port St. Lucie, FL 34987

             Personal Property/Vehicle
         Description of Collateral:

         2. Creditor: Tradition Community Assoc., Inc.
              Address: 10807 SW Tradition                Arrearage/ Payoff on Petition Date       $10,241.55
                       Square, Port St. Lucie, FL
                                                         Arrears Payment (Cure)                            $20.00        /month (Months   1   to 5   )
                       34987
                                                         Arrears Payment (Cure)                            $68.39        /month (Months   6   to 27 )
         Last 4 Digits of
         Account No.:                  9955              Arrears Payment (Cure)                            $261.73       /month (Months 28    to 60 )
                                                         Regular Payment (Maintain)                        $183.00       /month (Months   1   to 60 )

        Other:

         n   Real Property                                                     Check one below for Real Property:
                 n Principal    Residence                                             Escrow is included in the regular payments
                       Other Real Property                                            The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         10070 SW Newberry Ave., Port St. Lucie, FL 34987

             Personal Property/Vehicle
         Description of Collateral:

         3. Creditor: Lakeview Loan Servicing, LLC
              Address: C/O M & T Bank                    Arrearage/ Payoff on Petition Date
                       Bankruptcy Dept.
                                                         MMM Adequate Protection                           $250.00       /month (Months   1   to 5   )
                       POB 840
                       Buffalo, NY 14240
         Last 4 Digits of
         Account No.:                  5846
        Other:

         n   Real Property                                                     Check one below for Real Property:
                       Principal Residence                                      n     Escrow is included in the regular payments
                       Other Real Property                                            The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         10070 SW Newberry Ave., Port St. Lucie, FL 34987

             Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                  n   NONE
             C. LIEN AVOIDANCE                n   NONE
LF-31 (rev. 10/3/17)                                                    Page 2 of 5
                                         Case 20-11900-EPK               Doc 44           Filed 07/08/20     Page 3 of 5
                                                                             Debtor(s): FORNARO, TODD, FORNARO, JESSIC Case number: 20-11900-EPK
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       n    NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                            NONE
                       n    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                          Name of Creditor                  Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                          St. Lucie County Tax                                           10070 SW Newberry Ave., Port St. Lucie, FL 34987
                       1. Collector
                            M&T Bank                        5846                              10070 SW Newberry Ave., Port St. Lucie, FL 34987
                       2.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                         n   NONE
            B. INTERNAL REVENUE SERVICE:                          n   NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                           n    NONE
            D. OTHER:              n   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
                A. Pay              $68.03        /month (Months 28          to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
                B.          If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                C. SEPARATELY CLASSIFIED:                     n   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       n    NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                              NONE
                       n    Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
            n Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 Debtor will treat creditor, M & T Bank, directly outside the plan by either selling, refinancing, curing, re-applying for loan
                 modification or defending against any foreclosure action with any possible defenses available. In the event of any of the aforesaid
                 remiedies occuring, debtor will modify the plan accordingly. Debtor further agrees to relief from the stay for the creditor, M & T
                 Bank , as debtor is not treated the creditor in the Chapter 13 plan.

            n        Mortgage Modification Mediation




LF-31 (rev. 10/3/17)                                                            Page 3 of 5
                                    Case 20-11900-EPK               Doc 44          Filed 07/08/20       Page 4 of 5
                                                                       Debtor(s): FORNARO, TODD, FORNARO, JESSIC Case number: 20-11900-EPK
                   1 The debtor has filed a Verified Motion for Referral to MMM with:
                   M & T Bank                                                                                                          ("Lender")
                   loan number XXXXXXXXX5846
                   for real property located at 10070 SW Newberry Ave, Port Saint Lucie, FL 34987

                   The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
                   Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
                   modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
                   petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
                   contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
                   due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
                   such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
                   by the trustee and not upon receipt by the lender.

                   Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
                   proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
                   stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
                   of the plan or modified plan.

                   If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
                   pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
                   with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
                   14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
                   modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

                   If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
                   days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
                   the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
                   necessary to complete the settlement.

                   In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
                   disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

                   If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
                   filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
                   Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
                   property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in rem stay
                   relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
                   confirm that the automatic stay is not in effect as to the real property.

                   Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
                   of Claim.




LF-31 (rev. 10/3/17)                                                      Page 4 of 5
                                Case 20-11900-EPK                Doc 44         Filed 07/08/20   Page 5 of 5
                                                                   Debtor(s): FORNARO, TODD, FORNARO, JESSIC Case number: 20-11900-EPK


                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.



  /s/ Todd Fornaro                      Debtor      7/8/2020                   /s/ Jessica Fornaro      Joint Debtor   7/8/2020
  FORNARO, TODD                                           Date                  FORNARO, JESSICA                            Date




    Attorney with permission to sign on                 Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




LF-31 (rev. 10/3/17)                                                  Page 5 of 5
